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 5
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 6




 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11   TN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
12                                                   MDL No. 1917
     This Document Relates to:
13
                                                     DECLARATION OF R. ALEXANDER
                                                     SAVERI IN SUPPORT OF MOTION FOR
I4   ALL DIRECT PURCHASER ACTIONS                    CLASS CERTIFICATION AND
                                                     PRELIMINARY APPROVAL OF CLASS
l5                                                   ACTION SETTLEMENT WITH THE
                                                     TOSHIBA DEFENDANTS
t6
                                                     Date: March 12,2013
ll                                                   Time: 10:00 a.m.
                                                     Judge: Honorable Charles A. Legge (Ret.)
18
                                                     JAMS: Two Embarcadero Center. Suite 1500
19

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     DECL. OF R. ALEXANDER SAVERI ISO OF MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
     SETTLEMENT V/ITH THE TOSHIBA DEFENDANTS _ O7-CV-5944-SC
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 I   I, R. Alexander Saveri, declare:

 2           1.      I am a partner with Saveri & Saveri, Inc., Interim Lead Counsel for Direct Purchaser
 a
 J   Plaintiffs in this litigation. I am a member of the Bar of the State of California and an attorney

 +   admitted to practice in the Northern District of California. I make this Declaration in Support of

 5   Plaintiff s Motion for Preliminary Approval of Class Action Settlement with defendants Toshiba

 6   Corporation, Toshiba America Information Systems, Inc., Toshiba America Consumer Products,

     L.L.C., and Toshiba America Electronic Components, Inc. (collectively "Toshiba"). Except as

 8   otherwise stated, I have personal knowledge of the facts stated below.

 9           2.      Attached hereto as Exhibit I is the Settlement Asreement with Toshiba. This is the

10   fifth settlement plaintiffs have reached in this action.
11           3.      This multidistrict litigation arises fi'om an alleged conspiracy to fix prices of

t2   Cathode Ray Tubes ("CRTs"). In November of 2007, the first direct purchaser plaintiff filed a

13   class action complaint on behalf of itself and all others similarly situated alleging a violation of

14   section one of the Sherman Act, 15 U.S.C. $ 1, and section four of the Clayton Act, 15 U.S.C. $ 15.

15   Thereafter, additional actions were filed in other jurisdictions, and the Judicial Panel on

t6   Multidistrict Litigation transferued all related actions to this Court on February 15, 2008. (Judicial

17   Panel on Multidistrict Litigation Transfer Order - Docket No. 122). On May 9,2008, Saveri &

18   Saveri, Inc. was appointed Interim Lead Class Counsel for the nationwide class of direct

t9   purchasers. (Order Appointing Interim Lead Counsel - Docket No. 282).

20           4.      On March 16,2009, the Direct Purchaser Plaintiffs filed their Consolidated

2l   Amended Complaint ("CAC") alleging an over-arching horizontal conspiracy among the

22   Defendants and their co-conspirators to fix prices for CRTs and to allocate markets and customers

¿)   for the sale of CRTs in the United States from March 1, I 995 through November 25,2007 (the

24   "Class Period"). The CAC alleges that Plaintiffs and members of the Class are direct purchasers of

25   CRT Products (which include not only CRTs, but also finished products that contain CRTs, such as

26   televisions and computer monitors ("CRT Finished Products")) from defendants and/or their

27   subsidiaries and were injured because they paid more for CRT Products than they would have

28   absent defendants' illegal conspiracy. (CAC nn2ß-221). Plaintiffs seek, among other things,

     DECL. OF R. ALEXANDER SAVERI ISO MOTION FOR PRELIMINARY              APPROVAL                            1

     OF CLASS ACTION SETTLEMENT WITH THE TOSHIBA DEFENDANTS - O7-CV-5944-SC
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 I   treble damages pursuant to Sections 4 of the Clayton Act, 15 U.S.C. $$ l5 and 22. (CAC, Prayer

 2   for Relief ).
 a
 J           5.         Defendants filed several motions to dismiss the CAC on May 18,2009. (See
 A
 T   Dockets No. 463-493). On February 5, 2010 this court issued its rulings denying in part and

 5   granting in part Defendant's motions to dismiss (Report, Recommendations and Tentative Rulings

 6   regarding Defendants' Motions to Dismiss-Docket No. 597). After a subsequent appeal by

 7   defendants, Judge Conti on March 30, 2010 entered his order approving and adopting Judge

 8   Legge's previous ruling and recommendations regarding Defendants' Motions to Dismiss. (Order

 9   Approving and Adopting Special Master's Report, Recommendations and Tentative Rulings Re:

10   Defendants' Motions to Dismiss - Docket No. 665). On April 29,2010, the defendants answered

1t   the CAC.

12           6.         Thereafter, in May 2010, certain Defendants propounded interrogatories requesting

13   Plaintiffs to identify what evidence they had about the existence of a conspiracy to fix the prices of

14   CRT Products at the time they f,iled their complaints. Plaintiffs objected to these intenogatories as,

15   among other things, premature "contention" interrogatories. Defendants moved to compel

16   answeÍs. On November 18, 2010, after a hearing, the Special Master ordered Plaintiffs' to answer

17   the interrogatories. (Report and Recommendations Regarding Discovery Motions - Docket No.

18   810). On December 8, 2010, the court adopted the Special Master's Report and Recommendation.

19   (Order Adopting Special Master's Report, Recommendation, and Tentative Rulings Regarding

20   Discovery Motions - Docket No. 826). On January 31,2011 Plaintiffs answered Defendants'

21   interrogatories.

22           7   .      On March 27,2011, Defendants moved for sanctions pursuant to Federal Rules of

L)   Civil Procedure, Rule 11 on the grounds that the allegations of a finished product conspiracy were
1A
L-   without foundation and should be stricken from the complaint. (Defendants' Motion for Sanctions

25   Pursuant to Rule 1l - Docket No. 880). On June 15,2011, after hearing, the Special Master

26   recommended that Defendants' motion be granted and that Plaintiffs' allegations of a finished

zt   products conspiracy be stricken from the complaint. (Special Master Report and Recommendations

28   on Motions Regarding Finished Products - Docket No. 947). The Special Master also

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     OF CLASS ACTION SETTLEMENT V/ITH THE TOSHIBA DEFENDANTS - CV-07-5944-SC
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     I   recommended that "the issue of the possible impact or effect of the alleged fixing of prices of

 2       CRTs on the prices of Finished Products shall remain.in the case, and is a proper subject of
 a
 J       discovery." Id. at p. 14.

 4               8.     On June 29,2011 Defendants moved the Court to adopt the Special Master's Report

 5       and Recommendation. (Motion to Adopt Special Master's Report and Recommendation Regarding

 6       Finished Products - Docket No. 953). Plaintiffs' filed an objection to Special Master's Report and
 -       Recommendation. (Direct Purchaser Plaintiffs' Objection to Report and Recommendation on

 I       Motions Regarding Finished Products - Docket No. 957). The Court set the matter for hearins on

 9       September 2,2011. (Docket No. 968).

10              9.      On August 26,2011, the parties entered into a stipulation which provided, among

1i       other things: l) that the Special Master's recommended finding that Plaintiffs violated Rule 11 be

I2       vacated; 2) that certain other aspects of the Special Master's recommendations be adopted; and 3)
1a
IJ       that Plaintiffs' "allegations of the Direct CAC purporting to allege a conspiracy encompassing

T4       Finished Products are Stricken from the Direct CAC, provided, however, that the issue of the

15       possible impact or effect of the alleged fixing of prices of CRTs on the prices of Finished Products

l6       shall remain in the case." In addition, Plaintiffs agreed to withdraw "all discovery requests

1l       regarding or relating to information in support of the CRT Finished Product Conspiracy claims,"

18       and that "the issue of the purported impact or effect of the alleged fixing of prices of the CRTs on

19       the prices of the Finished Products shall remain in the case and is a proper subject of discovery."

20       (Stipulation and Order Concerning Pending Motions Re: Finished Products - Docket No. 996).

2l              10.     On December 12,2071, Defendants filed a joint motion for Summary Judgment

22       against Direct Purchasers Plaintiffs who purchased CRT Finished Products. (Docket No. 101 3). On

¿)       February 24,2012, Plaintiffs filed their Memorandum of Points and Authorities In Opposition to

24       Defendants' Motion For Partial Summary Judgment and supporting Declaration of R. Alexander

25       Saveri under seal. (Docket No. 1057). That same day, the Direct Action Plaintiffs also filed an

26       opposition to Defendants' motion. On March 9,2012, Defendants filed their Reply In Support of

27       Motion For Summary Judgment (Docket No. 1083) and on March 20,2072,the Court heard

28       argument from all parties. Thereafter, on May 37,2012, the Special Master issued his Report and

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         OF CLASS ACTION SETTLEMENT V/ITH THE TOSHIBA DEFENDANTS - CV-07-5944-SC
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 I   Recommendation regarding Defendants' Joint Motion For Summary Judgment recommending that

 2   the Court grant Defendants' motion for summary judgment and that judgment be entered against

 J   certain plaintiffs that directly purchased CRT Finished Products ("R&R"). (Docket No. 1221).

 4           1   1.   On June 12,2012, the Direct Purchaser Plaintiffs, the Direct Action Plaintiffs, and

 5   the Defendants submitted a Stipulation notifying the Court, inter alia, that Plaintiffs intended to

 6   object to the R&R. (Docket No. 1228). On June 26,2012, the Court issued an order establishing a

 7   briefing schedule requiring all parties to file their briefs by July 26,2072 and setting a hearing for

 8   August 70,2012. (Docket No. 1240). On June 28,2072, the Court vacated the hearing. (Docket

 9   No. 1243). The parties filed their briefs as ordered.
10           12.      On November 29,2012, the Court entered the Order Granting in Part and Denying

11   in Part Defendants' Joint Motion for Summary Judgment ("Order") (Docket No. 1470). The Court

12   found that the Direct Purchaser Plaintiffs that purchased a Finished Product, were "in fact indirect

l3   purchasers for purposes of antitrust standing." Order atp.6. The Court further found that one of

14   the three exceptions that permit indirect purchasers to pursue private treble-damages claims,

t5   outlined by the Ninth Circuit Court of Appeals in In re ATM Fee Antitrust Litig.,686 F.3d 741 (9th

l6   Cir.2012), did apply to the Direct Purchaser Plaintiffs. The Court ruled that the "Ownership and

T7   Control Exception" created in Royal Printing Co. v. Kimberly-Clark Corp., 621 F .2d 323 (9th Cir.

18   1980), conferred standing on Direct Purchaser Plaintiffs to sue "insofar as they purchased [Finished

t9   Products] incorporating the allegedly price-fixed CRTs from an entity owned or controlled by any

20   allegedly conspiring defendant." Order at p. 16. On December 19, 2072, cefiain defendants filed a

21   motion under 28 U.S.C. section I2gz(b)requesting that the Court certify the Court's November 29,

22   2072 Order for interlocutory appeal. (Docket No. 1499).

¿J           13.      In September of 2008, the first of several stays prohibiting Plaintiffs from obtaining

24   merits discovery was entered by this Court. (Stipulation and Order for Limited Discovery-

25   September 72,2008 - Docket No.379; Stipulation and Order to Extend Limited Discovery Stay-

26   February 5,2009 - Docket No. 425; June 8, 2009 Legge Order Further Extending the February 5,

27   2009 - Docket No. 509; January 5,2010 Stipulation and Order to Extend Limited Discovery Stay -

28   Docket No. 590). On June 4,2008, Plaintiffs' propounded their First Set of Limited Document

     DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY            APPROVAL                                    4
     OF CLASS ACTION SETTLEMENT WITH THE TOSHIBA DEFENDANTS - CV-07-5944-SC
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 I   Requests. Thereafter, on March 12,2070, after the partial stay of discovery was lifted, Plaintiffs

 ¿   propounded their Second Set of Document Requests and First Set of Interrogatories. After
 a
 J   extensive meet and confers and several motions to compel, the court issued its Report Regarding
 A
 T   Case Management Conference No. 4 on October 27,2071 in which it set the middle of December,

 5   2011 as the deadline for the completion of substantial discovery by all parties. (Docket Nos. 1007

 6   & 1008). Plaintifß have now received over 5 million pages of documents produced by
 7   Defendants.

 8          14.     On March 19,2072, the Special Master issued the Scheduling Order and Order Re

 9   Discovery and Case Management Protocol. (Docket Nos. 1093, 1094). The Court entered both

10   Orders on April 3,2072. (Docket Nos. 1 127, 7128). The Scheduling Order set August 30, 2013 as

11   the date for completion of all fact and expert discovery. Beginning in June of 2012, after meeting

12   and conferring with defendants regarding the scope and topics of 30(b)(6) witnesses, Plaintiffs

IJ   began taking 30(bX6) depositions of the various defendants. To date, in coordination with the

14   indirect purchasers, the Attorneys General, and the opt-out plaintiffs, Plaintiffs have deposed

l5   approximately twenty-five corporate representatives. Beginning in December of 2012, Plaintiffs

l6   began taking fact depositions.

t7          15.     On October 19,2012, the Court granted final approval of the first two settlements

l8   reached in this case with: (1) Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes

t9   (Malaysia) Sdn. Bhd. ("CPT"), and (2) Koninklijke Philips Electronics N.V., Philips Electronics

20   North America Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips Da

21   Amazonia Industria Electronica Ltda. ("Philips"). The Court certified a Settlement Class for the

22   CPT and Philips settlements, appointed Plaintiffs' Interim Lead Counsel as Settlement Class
ôa
¿J   Counsel, and found that the manner and form of providing notice of the settlements to class
1A
LA   members was the best notice practicable under the circumstances (Docket No. 1412). The Court

25   entered final judgment of dismissal with respect to CPT and Philips (Docket Nos. 1413, 1414).

26          16.     On August 27,2012, the Court preliminarily approved the third settlement reached

)7   in this case with Panasonic Corporation (f/kla Matsushita Electric Industrial Co., Ltd.), Panasonic

28   Corporation of North America, and MT Picture Display Co., Ltd., ("Panasonic"). The Court

     DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY           APPROVAL                                 5
     OF CLASS ACTION SETTLEMENT V/ITH THE TOSHIBA DEFENDANTS - CV-07-5944-SC
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 I
  I
      cenified a Settlement Class for the Settlement, appointed Plaintiffs' Interim Lead Counsel as

 2    Settlement Class Counsel, approved the manner and form of providing notice of the settlement to
 a
 J    class members, established a timetable for publishing class notice and set a hearing for final

 4    approval. (Docket No. 1333). On December 27 ,2012 Lhe Courf granted frnal approval and entered

 5    final judgments of dismissal with respect to Panasonic and BMCC (Docket Nos. 1486, 1487,

 6    r 488).


 7              17.   On November 13, 2012, the Court preliminarily approved the fourth settlement

 8    reach in this case with defendants LG Electronics, Inc., LG Electronics USA, Inc., and LG

 9    Electronics Taiwan Taipei Co., Ltd. ("LG"). As with the CPT, Philips and Panasonic settlements,

10    the Court certified a Settlement Class, appointed Plaintiffs' Interim Lead Counsel as Settlement

11    Class Counsel, approved the manner and form of providing notice to class members, established a

l2    timetable for publishing class notice and set a hearing for f,inal approval on March 75,2012.

l3    (Docket No. l44l).

14              18.   The Toshiba Settlement is the fifth settlement reached in this action.

15              19.   CRTs are def,rned to mean Cathode Ray Tubes of any type (e.g. color display tubes,

r6    color picture tubes and monochrome display tubes). CRT Finished Products are those products

17    that when finished contain Cathode Ray Tubes - such as televisions and computer monitors. CRT

18    Products means CRTs andlor CRT Finished Products.

l9              20.   The Settlement resolves all federal claims related to CRT Products (i.e., CRTs and

20    CRT Finished Products) brought by Plaintiffs against LG and related entities that are defined in the

21    Settlement Agreement to be "Toshiba Releasees."

22              21.   Mr. R. Alexander Saveri participated in the settlement negotiations with Toshiba.
ôî
ZJ    The settlement was a reached as a result of a mediation before Eric Green. The parties exchanged

24    mediation briefs and attended a one-day mediation on October 3,2012. While no settlement was

25    reached at the mediation, the parties continued their discussions with the assistance of Mr. Green

26    and reached an agreement in principle on several material terms on or about November 15,2012.

27    The negotiations were thorough and hard fought. They were contested and conducted at arms-

28    length in the utmost good faith.

      DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY APPROVAL
      OF CLASS ACTION SETTLEMENT V/ITH THE TOSHIBA DEFENDANTS - CV-07-5944-SC
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     I           22.     In exchange for dismissal with prejudice and a release of all claims asserted in the

 z       CAC, Toshiba has agreed to pay $13,500,000 in cash to settle all direct purchaser claims against it.
 a
 J       The funds are to be deposited into a guaranteed escrow account within 30 days of execution of the

 I       Settlement Agreement.

 5               23.     Toshiba's sales remain in the case for the purpose of computing Plaintiffs' claims

 6       against the remaining non-settling Defendants.

 -               24.    Toshiba has agreed to cooperate with Plaintiffs in the prosecution of this action by:

 8       1) providing copies of all discovery (including among other things, all documents, interrogatories,

 9       requests for admission, etc.) Toshiba produces to any other party in the Action; 2) providing a

10       declaration andlor custodian establishing the authenticity of Toshiba's transactional data, and

1l       foundation of any Toshiba document or data needed at summary judgment or trial; 3) allowing
1')
IL       Counsel to question percipient witnesses noticed for deposition by any other party in the Action

13       with whom Toshiba has not settled; and 4) using its best efforts to make available two persons for

t4       trial testimony, each of whom is, at the time of trial, a director, off,rcer, and/or employee of Toshiba

15       whom Lead Counsel reasonably believes to have knowledge regarding Plaintiffs' claims.

I6       (Settlement Agreement n 2Ð.

17              25.     It is my opinion that the Settlement is, in every aspect, fair, adequate and reasonable

18       and in the best interest of the class members. My opinion is based, among other things, on my

t9       participation in virtually every aspect of this case, my review of all of the important evidence

20       obtained to date and my experience in many other class action antitrust cases.

21              26.     The transactional data produced so far indicates that the Settlement Class contains

22       hundreds of members dispersed across the country who directly purchased CRT Products from the

¿J       Settling Defendants and their co-conspirators from March |, 1995 through November 25,2007 .
AA
¿+              27.     As with the previous settlements, Plaintiffs' counsel will not seek an award of

25       attomeys' fees at this time. Plaintifß' counsel will seek an award of fees in the future after the

26       completion of other settlement(s) or at some other later date.

27              28.     The notice program is the same as the one approved by the Court on May 3,2012in

28       connection with the Chunghwa and Philips settlements, on Augustz7,2012 in connection with the

         DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY            APPROVAL                                 7
         OF CLASS ACTION SETTLEMENT WITH THE TOSHIBA DEFENDANTS - CV-07-5944-SC
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     I   Panasonic settlement, and on November 73,2012 in connection with the LG Settlement             namely
                                                                                                    -
     ¿   direct notice to class members whose addresses can be reasonably obtained along with publication
     a
     J   once in the national edition of the Wall Street Journal, together with appropriate listings on the

     A
     T   Internet. This notice program is similar to that employed in the direct purchaser DRAM, SRAM and

     5   ZCD class actions.

     6          29.     The plan of allocation is the same procedure as approved by the Court on May 3,

         2012 in connection with the CPT and Philips settlements, on August27,2072 in connection with

     8   the Panasonic settlement, and on November 13, 2012 in connection with LG Settlement
                                                                                                    - namely
 9       1) defening the distribution of settlement proceeds until a later date and2) informing the class of

10       the methodology of the pro rata distribution.

l1              30.     Attached hereto as Exhibit 2 is a copy of the proposed Long Form of Notice.

12              31.     Attached hereto as Exhibit 3 is a copy of the proposed Summary Notice.

l3            I declare under the penalty of perjury under the laws of the United States of America that the
l4       foregoing is true and correct.

l5            Executed the 15th day of February, 2073, in San Francisco, california.

16
                                                                      /s/ R. Alexander Saveri
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         DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY APPROVAL
         OF CLASS ACTION SETTLEMENT wlTH THE TOSHIBA DEFENDANTS - CV-07-5944-SC
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             EXHIBIT 1
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                          UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT) )                         Master File No. CV-07-5944 SC
ANTITRUST LITIGATION          )
                              )                         MDL No. l9l7
THIS DOCUMENT RELATES TO:     )
ALL DIRECT-PURCHASER ACTIONS )


                               SETTLEMENT AGREEMENT

        This Settlement Agreement ("Agreement") is made and entered into            thisfray
of February,2013 by and between Toshiba Corporation, Toshiba America Information
systems, Inc., Toshiba America consumer Products, L.L.c., and roshiba America
Electronic Components, Inc. (collectively "Toshiba") and the direct-purchaser plaintiff
class representatives ("Plaintiffs"), both individually and on behalf of a settlement class

of direct purchasers of cathode Ray Tube (cRT) Products ("the class") as more
particularly defined in Paragraph I below.
        WHEREAS, Plaintiffs are prosecuting the above In Re Cathode Ray Tube (CRT)
Antitrust Litigation, MDL No. 1917 (N.D. Cal.) (the "Action") on their own behalf and
on behalf of the Class against, among others, Toshiba;

        WHEREAS, Plaintiffs allege that Toshiba participated in an unlawful conspiracy
to raise, fix, maintain, or stabilize the price of CRT Products at artificially high levels in
violation of Section 1 of the Sherman Act;
        WHEREAS, Toshiba denies Plaintifß' allegations and has asserted defenses to
Plaintiffs' claims;
       WHEREAS, Plaintiffs have conducted an investigation into the facts and the law
regarding the Action and have concluded that resolving claims against Toshiba according
to the terms set forth below is in the best interest of Plaintiffs and the Class:
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         WHEREAS, Toshiba, despite its belief that it is not liable for the claims asserted
 and has good defenses thereto, has nevertheless agreed to enter into this Agreement to

 avoid further expense, inconvenience, and the distraction of burdensome and protracted
 litigation, and to obtain the releases, orders, and judgment contemplated by this
 Agreement, and to put to rest with finality all claims that have been or could have been
 asserted against Toshiba, based on the allegations of the Action, as more particularlv set

 out below;

        NOW, THEREFORE, in consideration of the covenants, agreements, and releases
set forth herein and for other good and valuable consideration, it is agreed by and among

the undersigned that the Action be settled, compromised, and dismissed on the merits
with prejudice as to the Toshiba Releasees, as defined below, and except as hereinafter
provided, without costs as to Plaintifß, the Class, or Toshiba, subject to the approval of
the Court, on the following terms and conditions:
        A.      Definitions.

                1.      For purposes of this Agreement, "the Class" and "Class Period"
are defined in Plaintiffs' Consolidated Amended Complaint or, if that complaint is

amended, the operative complaint at the time this Agreement is presented for preliminary

approval. The parties to this Agreement hereby stipulate for purposes of this settlement
only that the requirements of Rules23(a) and 23(b)(3) of the Federal Rules of Civil
Procedure are satisfied.

                2.      For purposes of this Agreement, "CRT Products" shall have the
meaning as defined in the Consolidated Amended Complaint or, if that complaint is
amended, the operative complaint at the time this Agreement is presented for preliminary

approval.

                3.      "Toshiba Releasees" shall refer to the entities that are referred to
collectively as "Toshiba" in paragraph 78 of the Consolidated Amended Complaint, and
to all oftheir respective past and present, direct and indirect, parents, subsidiaries, and

affrliates, and all oftheir respective past and present, direct and indirect, parents,
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subsidiaries, affiliates, unincorporated entities, divisions, and groups; the predecessors,
successors and assigns ofany ofthe above; and each and all ofthe present and former

principals, partners, officers, directors, supervisors, employees, agents, representatives,
insurers, attomeys, heirs, executors, administrators, and assigns of each of the foregoing.
"Toshiba Releasees" does not include any defendant in the Action other than those
entities defined in the consolidated Amended complaint as "Toshiba."

                4.      "Class Member" means each member of the Class who has not
timely elected to be excluded ûom the Class.
                5.      "Releasors" shall refer to the direct-purchaser plaintiff Class
representatives and the direct-purchaser plaintiff Class Members, and to their past and
present offrcers, directors, employees, agents, stockholders, attorneys, servants,

representatives, parents, subsidiaries, affiliates, partners, insurers and all other persons,
partnerships or corporations with whom any of the former have been, or are now,

affrliated, and the predecessors, successors, heirs, executives, administrators and assigns
of any of the foregoing, as well as to anyone claiming by, for, or through the Releasors.
               6.       "The Settlement Fund" shall be $13,500,000 specified in
Paragraphl6 plus accrued interest on said deposits set forth in paragraph 17.

               7.      "Lead Counsel" shall refer to the law firm of:
                       Guido Saveri
                       R. Alexander Saveri
                       Saveri & Saveri, Inc.
                       706 Sansome Street
                       San Francisco, CA 94lll

       B.      Approval of this Asreement and Dismissal of Claims Against Toshiba.

               8.      Plaintiffs and Toshiba shall use their best efforts to effectuate this
Agreement, including cooperating in seeking the Court's approval for the establishment
of procedures (including the giving of class notice under Federal Rules of Civil
Procedure 23(c) and (e)) to secure the prompt, complete, and final dismissal with

prejudice of the Action as to the Toshiba Releasees only.
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               9.      Plaintiffs shall submit to the Court a motion for authorization to
disseminate notice of the settlement and final judgment contemplated by this Agreement
to all Class members identified by the parties (the "Motion"). If notice to the Class is
given jointly with any other settling defendant, for purposes of Paragraph 19 below, the

costs of notice and claims administration shall be prorated with any other such defendant

based on their respective settlement amounts. The Motion shall include (i) a proposed

form of, method for, and date of dissemination of notice; and (ii) a proposed form of
order. The text of the foregoing items (i) and (ii) shall be agreed upon by Plaintiffs and
Toshiba before submission of the Motion, with the understanding that, among other
things, individual notice of the settlement shall be mailed by regular mail or email, with
appropriate notice by publication, with all expenses paid from the Settlement Fund
subject to Paragraph 19(a). The Motion shall recite and ask the Court to f,ind that the

mailing of the notice of settlement to all members of the Class who can be identified
upon reasonable effort constitutes valid, due and sufficient notice to the Class, constitutes
the best notice practicable under the circumstances, and complies fully with the

requirements of Federal Rule of Civil Procedure 23.

               10. Plaintiffs shall seek, and Toshiba will not object unreasonably to
the entry of, an order and final judgment, the text of which Plaintifß and Toshiba shall
agree upon. The terms of that order and final judgment will include, at a minimum, the

substance of the following provisions:

               a.      certifying the Class described in Paragraph l, pursuant to Rule 23
                       of the Federal Rules of Civil Procedure, solely for purposes of this
                       settlement as a settlement class;
               b.      as to the Action, approving finally this settlement and its terms as

                      being a fair, reasonable and adequate settlement as to the Class
                      Members within the meaning of Rule 23 of the Federal Rules of

                      Civil Procedure and directing its consummation according to its
                      terms;
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               c.      as to the Toshiba Releasees, directing that the Action be dismissed

                       with prejudice and, except as provided for in this Agreement,
                       without costs;
               d.      reserving exclusive jurisdiction over the settlement and this
                       Agreement, including the administration and consummation of this
                       settlement, to the United States District Court for the Northern
                       District of California; and
               e.      determining under Federal Rule of Civil Procedure 5a(b) that there
                       is no just reason for delay and directing that the judgment of
                       dismissal as to the Toshiba Releasees shall be f,inal.


               11. This Agreement shall become final when (i) the Court has entered
a f,rnal order certifying the Class described in Paragraph I and approving this Agreement

under Federal Rule of Civil Procedure 23(e) and a final judgment dismissing the Action
with prejudice as to Toshiba Releasees against all Class Members and without costs other
than those provided for in this Agreement, and (ii) the time for appeal or to seek
permission to appeal from the Court's approval of this Agreement and entry of a final
judgment as to Toshiba Releasees described in (i) hereof has expired or, if appealed,

approval of this Agreement and the final judgment as to Toshiba Releasees have been
affirmed in their entirety by the Court of last resort to which such appeal has been taken
and such aff,trmance has become no longer subject to fuither appeal or review. It is

agreed that the provisions of Rule 60 of the Federal Rules of Civil Procedure shall not be

taken into account in determining the above-stated times. On the date that Plaintiffs and

Toshiba have executed this Agreement, Plaintiffs and Toshiba shall be bound by its terms
and this Agreement shall not be rescinded except in accordance with Paragraphs l7(h),

18(a), 28, or 29 of this Agreement.

               12. Neither this Agreement (whether or not it should become final) nor
the f,rnal judgment, nor any and all negotiations, documents and discussions associated
with them, shall be deemed or construed to be an admission by Toshiba (or the Toshiba




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Releasees) or evidence of any violation of any statute or law or of any liability or wrong

doing whatsoever by Toshiba (or the Toshiba Releasees), or of the truth of any of the
claims or allegations contained in any complaint or any other pleading filed in the Action,
and evidence thereof shall not be discoverable or used directly or indirectly, in any way,

whether in the Action or in any other action or proceeding. Neither this Agreement, nor
any of its terms and provisions, nor any of the negotiations or proceedings connected

with it, nor any other action taken to carry out this Agreement by any of the settling
parties shall be referred to, offered as evidence or received in evidence in any pending or

future civil, criminal, or administrative action or proceedings, except in a proceeding to
enforce this Agreement, or to defend against the assertion of Released Claims, or as
otherwise required by law.
               C.      Release. Discharge. and Covenant Not to Sue.

               13. In addition to the effect of any final judgment entered in
accordance with this Agreement, upon this Agreement becoming final as set out in

Paragraph l1 of this Agreement, and in consideration of payment of the Settlement
Amount, as specified in Paragraph 16 of this Agreement, into the Settlement Fund, and
for other valuable consideration, the Toshiba Releasees shall be completely released,
acquitted, and forever discharged from any and all claims, demands, judgments, actions,
suits, causes of action, whether class, individual, or otherwise in nature (whether or not
any Class Member has objected to the settlement or makes a claim upon or participates in

the Settlement Fund, whether directly, representatively, derivatively or in any other

capacity) that Releasors, or each of them, ever had, now has, or hereafter can, shall, or
may have on account of, or in any way arising out of, any and all known and unknown,
foreseen and unforeseen, suspected or unsuspected, actual or contingent, liquidated or

unliquidated claims, injuries, damages, and the consequences thereof in any way arising
out of or relating in any way to any act or omission of the Toshiba Releasees (or any of

them) conceming the CRT Products that are the subject of the Plaintifß' Consolidated
Amended Complaint up to the date of execution of this Agreement, including but not
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limited to any conduct alleged, and causes of,action asserted or that could have been
alleged or asserted, in any class action complaints filed in the Action, other than claims
for product defect or personal injury or breach ofcontract arising in the ordinary course
of business or indirect purchaser claims for CRT Products that were not purchased
directly from Defendants or their alleged co-conspirators (the "Released Claims").
However, the Released Claims shall not preclude Plaintiffs from pursuing any and all
claims against other defendants for the sale of CRT Products by those defendants, or their
co-conspirators, which contain Toshiba's CRT Products. Releasors shall not, after the
date of this Agreement, seek to establish liabitity against any Toshiba Releasee based, in

whole or in part, upon any of the Released Claims or conduct at issue in the Released
Claims. For purposes of clarity, the Released Claims shall include any claims under
foreign antitrust or competition laws or state antitrust or competition laws (including
indirect purchaser claims) that relate to or arise out of the sale of any of the CRT
Products that are the subject of the Plaintiffs' Consolidated Amended Complaint, but do

not include any foreign antitrust or competition law claims or any state law indirect
purchaser claims that relate to or arise out of the sale of CRT Products that: (a) were not

purchased from a Defendant or alleged co-conspirator in the Action; or (b) were not sold

in the United States as either a CRT Product or as a component included within a CRT
Product.

                14. In addition to the provisions of Paragraph 13 of this Agreement,
Releasors hereby expressly waive and release, upon this Agreement becoming final, any

and all provisions, rights, and benefits conferred by $15a2 of the Califomia Civil Code.

which states:
       CERTAIN CLAIMS NOT AFFECTED BY GENERAL RELEASE.
       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
       WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS FAVOR AT THE TIME OF EXECUTING THE
       RELEASE, WHICH IF KNOWN BY HIM MUST HAVE
       MATEzuALLY AFFECTED HIS SETTLEMENT WITH THE
       DEBTOR;




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or by any law of any state or territory of the United States, or principle of common law,

which is similar, comparable, or equivalent to $ 1542 of the California Civil Code. Each
Releasor may hereafter discover facts other than or different from those which he, she, or
it knows or believes to be true with respect to the claims which are the subject matter of
the provisions of Paragraph 13 of this Agreement, but each Releasor hereby expressly

waives and fully, finally, and forever settles and releases, upon this Agreement becoming
final, any known or unknown, suspected or unsuspected, contingent or non-contingenr
claim with respect to the subject matter of the provisions of Paragraph 13 of this
Agreement, whether or not concealed or hidden, without regard to the subsequent
discovery or existence ofsuch different or additional facts.
                15. The release, discharge, and covenant not to sue set forth in
Paragraph l3 of this Agreement does not include claims by any of the Class Members
other than the Released Claims and does not preclude Class Members from pursuing
claims based on indirect sales or foreign sales of CRT Products so long as such claims are
not based on the purchase of the same CRT Products included as part of the Released
Claims defined in Paragraph 13. The Releasors hereby covenant and agree that they shall
not, hereafter, sue or otherwise seek to establish liability against any of the Toshiba
Releasees based, in whole or in part, upon any of the Released Claims.

       D.      Settlement Amount.
               16. Subject to the provisions hereof, and in full, complete and final
settlement of the Action as provided herein, Toshiba shall pay the Settlement Amount of

$13,500,000 in united States Dollars (the "settlement Amount"). The settlement
Amount shall be paid into an escrow account in United States Dollars to be administered
in accordance with the provisions of Paragraph 17 of this Agreement (the "Escrow
Account") thity (30) days after execution of this Agreement.
               17. Escrow Account.
       (a)     The Escrow Account will be established at Citibank, N.A.
                                                                            - Citi Privare
Bank, san Francisco, california, with such Bank serving as escrow agent (.'Escrow




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Agent") subject to escrow instructions mutually acceptable to Lead Counsel and Toshiba,
such escrow to be administered under the Court's continuing supervision and control.

        (b)     The Escrow Agent shall cause the funds deposited in the Escrow Account
to be invested in short-term instruments backed by the full faith and credit of the United
States Govemment or fully insured in writing by the United States Government, or

money market funds rated Aaa and AAA, respectively by Moody's Investor Services and
Standard and Poor's, invested substantially in such instruments, and shall reinvest any

income from these instruments and the proceeds of these instruments as they mature in

similar instruments at their then current market rates.
        (c)     All funds held in the Escrow Account shall be deemed and considered to
be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court,

until such time as such funds shall be distributed pursuant to this Agreement and/or
further order(s) of the Court.
        (d)     Plaintiffs and Toshiba agree to treat the Settlement Fund as being at all
times a qualified settlement fund within the meaning of Treas. Reg. $ I .4688- 1 . In
addition, the Escrow Agent and./or claims administrator shall timely make such elections
as necessary or advisable to carry out the provisions of this Paragraph 17, including the

relation-back election (as defined in Treas. Reg. g 1.4688-i) back to the earliest permitted
date. Such elections shall be made incompliance with the procedures and requirements
contained in such regulations. It shall be the responsibility of the Escrow Agent and/or
claims administrator to timely and properly prepare and deliver the necessary
documentation for signature by all necessary parties, and thereafter to cause the
appropriate filing to occur.
       (e)     Forthe pu{pose of$ 4688 ofthe Internal Revenue code of19g6, as
amended, and the regulations promulgated there under, the administrator shall be the

Escrow Agent and./or claims administrator. The Escrow Agent and/or claims

administrator shall timely and properly file all informational and other tax returns
necessary or advisable with respect to the Settlement Fund (including without limitation

the returns described in Treas. Reg. $ 1.4688-2(k)(l)). Such retums (as well as the



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election described in Paragraph l7(d)) shall be consistent with Paragraphl T(d) and in all
events shall reflect that all Taxes, as defined below (including any estimated Taxes,

interest or penalties), on the income earned by the Settlement Fund shall be paid out of
the Settlement Fund as provided in Paragraph l7(Ð hereof.

        (Ð     All (i) taxes (including any estimated taxes, interest or penalties) arising
with respect to the income earned by the Settlement Fund, including any taxes or tax
detriments that may be imposed upon Toshiba or any other Toshiba Releasee with respect
to any income earned by the Settlement Fund for any period during which the Settlement
Fund does not qualify as a qualified settlement fund for federal or state income tax

purposes ("Taxes"); and (ii) expenses and costs incurred in connection with the operation

and implementation of Paragraphs l7(d) through 17(f) (including, without limitation,

expenses of tax attorneys and/or accountants and mailing and distribution costs and

expenses relating to filing (or failing to file) the returns described in this Paragraph 17(f)

("Tax Expenses")), shall be paid out of the Settlement Fund.
        (g)    Neither Toshiba nor any other Toshiba Releasee nor their respective
counsel shall have any liability or responsibility for the Taxes or the Tax Expenses.

Further, Taxes and Tax Expenses shall be treated as, and considered to be, a cost of
administration of the Settlement Fund and shall be timely paid by the Escrow Agent
and/or the claims administrator out of the Settlement Fund without prior order from the
Court and the Escrow Agent shall be obligated (nonvithstanding anything herein to the
contrary) to withhold from distribution to any claimants authorized by the Court any
funds necessary to pay such amounts including the establishment of adequate reserves for

any Taxes and Tax Expenses (as well as any amounts that may be required to be withheld

under Treas. Reg. $ 1.4688-2(lX2). Neither Toshiba nor any other Toshiba Releasee is

responsible nor shall they have any liability therefor. Plaintiffs and Toshiba agree to
cooperate with the Escrow Agent, the claims administrator, each other, and their tax

attomeys and accountants to the extent reasonably necessary to carry out the provisions
of Paragraphs 1 7(d) throughl 7(f).




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        (h)      If this Agreement does not receive final Court approval, including final
approval of "the Class" as defined in Plaintifß' Consolidated Amended Complaint or,           if
that complaint is amended, the operative complaint at the time this Agreement is
presented for preliminary approval, or if the Action is not certified as a class action for

settlement purposes, then all amounts paid by Toshiba into the Settlement Fund (other
than costs expended in accordance with Paragraphlg(a)) shall be returned to Toshiba
from the Escrow Account by the Escrow Agent along with any interest accrued thereon
within thirty (30) calendar days.
                 18. Exclusions.
        (a)      Within ten (10) business days after the end of the period to request
exclusion from the Class, Lead Counsel will cause copies of timely requests for exclusion
from the Class to be provided to counsel for Toshiba. To the extent that Toshiba
determines in good faith that its sales of CRT Products during the Class period to the
potential members of the Class (or any of them) who have requested exclusion from the
Class represent an amount of sales equal to or greater than 80olo of Toshiba's sales of
CRT Products in the United States during the Class Period, Toshiba may terminate the
Agreement within thirty (30) days of receipt of the list of exclusions.

        (b)      If Toshiba terminates this Agreement pursuant to Paragraph l8(a), then
all amounts paid by Toshiba into the Settlement Fund (other than notice costs expended
in accordance with Paragraph l9(a)) shall be returned to Toshiba from the Escrow
Account by the Escrow Agent along with any interest accrued thereon within thirty (30)
calendar days.
       (c)       With respect to any potential Class member who requests exclusion from
the Class, Toshiba reseryes all of its legal rights and defenses, including, but not limited
to, any defenses relating to whether the excluded Class member is a direct purchaser of
any allegedly price-fixed product and/or has standing to bring any claim.

                 19. Payment of Expenses.
       (a)       Toshiba agrees to permit use of a maximum of $300,000 of the settlement
Fund towards notice to the class and the costs of administration of the Settlement Fund




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set forth in Paragraph 17. The $300,000 in notice and administration expenses are not

recoverable if this settlement does not become final to the extent such funds are expended
for notice and administration costs. Other than as set forth in this Paragraph 19(a),
neither Toshiba nor any of the other Toshiba Releasees under this Agreement shall be
liable for any of the costs or expenses of the litigation of the Action, including attorneys'
fees; fees and expenses ofexpert witnesses and consultants; and costs and expenses

associated with discovery, motion practice, hearings before the Court or any Special

Master, appeals, trials or the negotiation of other settlements, or for Class administration
and costs.

        (b)        If Lead Counsel enters into any other settlements on behalf of the Class
before notice of this Agreement is given to the Class, Lead Counsel shall use its

reasonable best efforts to provide a single notice to prospective Class members of all of

the settlements.

       E.          The Settlement Fund.
                   20.    Releasors shall look solely to the Settlement Fund for settlement
and satisfaction against the Toshiba Releasees of all Released Claims, and shall have no

other recovery against Toshiba or any other Toshiba Releasee.

               2l-       After this Agreement becomes final within the meaning of
Paragraph I I, the Settlement Fund shall be distributed in accordance with a plan to be
submiued at the appropriate time by Plaintiffs, subject to approval by the Court. In no
event shall any Toshiba Releasee have any responsibility, financial obligation, or liability

whatsoever with respect to the investment, distribution, or administration of the
Settlement Fund, including, but not limited to, the costs and expenses of such distribution
and administration, with the sole exception of the provisions set forth in Paragraph 19(a)

of this Agreement.
               22.       Plaintiffs and Class Counsel shall be reimbursed and indemnified
solely out of the Settlement Fund for all expenses. The Toshiba Releasees shall not be
liable for any costs, fees, or expenses of any of Plaintifß' or the Class' respective




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attomeys, experts, advisors, agents, or representatives, but all such costs, fees, and
expenses as approved by the Court shall be paid out of the Settlement Fund.

                23.     Class Counsel's Attomeys' Fees And Reimbursement of Expenses.
        (a)     Class Counsel may submit an application or applications to the Court (the
"Fee and Expense Application") for distribution to them from the Settlement Fund and
Toshiba shall not oppose such application for: (i) an award of attorneys' fees not in
excess of one-third of the settlement fund;plus (ii) reimbursement of expenses and costs

incurred in connection with prosecuting the Action, plus interest on such attorneys' fees,

costs and expenses at the same rate and for the same period as earned by the Settlement

Fund (until paid) as may be awarded by the Court (the "Fee and Expense Award"). Class
Counsel reserve the right to make additional applications for fees and expenses incurred,
but in no event shall Toshiba Releasees be responsible to pay any such additional fees
and expenses except to the extent they are paid out of the settlement Fund.

        (b)    The Fee and Expense Award, as approved by the Court, shall be paid
solely from the Settlement Fund. After this Agreement becomes final within the meaning
of Paragraph 11, the Fee and Expense Award shall be paid to Lead Counsel within ten
(10) business days. Lead Counsel shall allocate the attorneys' fees among Class Counsel
in a manner which it in good faith believes reflects the contributions of such counsel to
the prosecution and settlement of the Action.

       (c)     The procedure for and the allowance or disallowance by the Court of the
application by Class Counsel for attorneys' fees, costs and expenses to be paid out of the
Settlement Fund are not part of this Agreement, and are to be considered by the Court
separately from the Court's consideration of the faimess, reasonableness and adequacy of

the Settlement, and any order or proceeding relating to the Fee and Expense Application,

or any appeal from any such order shall not operate to terminate or cancel this
Agreement, or affect or delay the finality of the judgment approving the settlement.
       (d)     Neither Toshiba nor any other Toshiba Releasee under this Agreement
shall have any responsibility for, or interest in, or liability whatsoever with respect ro any
payment to Class Counsel of any Fee and Expense Award in the Action.



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        (e)     Neither Toshiba nor any other Toshiba Releasee under this Agreement
shall have any responsibility for, or interest in, or liability whatsoever with respect to the
allocation among Class Counsel, and/or any other person who may assert some claim
thereto, of any Fee and Expense Award that the court may make in the Action.
        F.      Cooperation.
                24.     Toshiba shall reasonably cooperate with Lead Counsel as set forth
specifically below:
        (a)     Toshiba shall provide Lead Counsel with copies of all discovery
(including among other things, all documents, interrogatories, requests for admission,
etc.) Toshiba produces to any other party in the Action;
        (b)     Toshiba agrees to provide a declaration and, if necessary, a document
custodian to establish, to the best of their ability, the foundation and authenticity of
Toshiba's transactional data. In addition, Toshiba agrees to provide a declaration and, if
necessary, a document custodian to establish, to the best of their ability, the foundation of

any Toshiba document or data Lead Counsel identify as necessary for summary judgment

and/or trial.
        (c)     Toshiba agrees to allow Lead Counsel to ask questions of any percipient
witness from Toshiba noticed for deposition by any other party in In Re Cathode Ray
Tube (CRT) Antitrust Litigation, MDL No. 1917 (N.D. Cal.) (the " MDL Acrion") wirh

whom Toshiba has not settled, pursuant to the deposition procedures described in the
Order Re Discovery and Case Management Protocol (ECF. No. 1128).
        (d)     If the Plaintiffs proceed to trial against any of the remaining, non-settling
defendants in the MDL Action, Toshiba agrees to use its reasonable efforts to make
available for live testimony at trial at the United States Courthouse of the United States
District Court for the Northem District of Califomia, at Plaintiffs' expense, two (2)
persons, each of whom is, at the time of trial, a director, officer, and/or employee of

Toshiba whom Lead Counsel, in consultation with Toshiba, reasonably and in good faith
believes to have knowledge regarding Plaintiffs' claims as alleged in the Plaintiffs'

Consolidated Amended Complaint. At a reasonable time prior to his/her scheduled trial



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appearance, Plaintiffs may also meet with each of the two proposed trial witnesses to

discuss his/her testimony.

        (e)     Notwithstanding any other provision in this Agreement, Plaintiffs agree
that they and Class Counsel shall maintain all statements made by Toshiba's counsel as
strictly confidential; and that they shall not use directly or indirectly the information so
received for any purpose other than the prosecution of the Action. The parties and their

counsel further agree that any statements made by Toshiba's counsel in connection with
and./or as part of this settlement shall be protected by Federal Rute of Evidence 408, and

shall in no event be discoverable by any person or treated as evidence ofany kind, unless
otherwise ordered by a Court.
        (Ð      If any document protected by the attorney-client privilege, attorney work-
product protection, joint-defense or any other protection, privilege, or immunity is

accidentally or inadvertently produced under this Paragraph, the document shall promptly
be returned to Toshiba, and its production shall in no way be construed to have waived

any privilege or protection attached to such document.

        (g)    Plaintiffs and Lead Counsel agree they will not use the information
provided by Toshiba or the Toshiba Releasees or their representatives under this

Paragraph for any purpose other than the pursuit of the Action, and will not publicize the

information beyond what is reasonably necessary for the prosecution of the action or as
otherwise required by law. Any documents and other information provided will be
deemed "Highly Confidential" and subject to the protective order entered in the Action as

ifthey had been produced in response to discovery requests and so designated-
               25- In the event that this Agreement fails to receive final approval by
the Court as contemplated in Paragraphs 8-l I hereof, including final approval of "the

Class" as defined in Plaintiffs' Consolidated Amended Complaint or, if that complaint is
amended, the operative complaint at the time this Agreement is signed, or in the event

that it is terminated by either party under any provision herein, the parties agree that

neither Plaintiffs nor Plaintiffs' counsel shall be permitted to introduce into evidence, at

any hearing, or in support of any motion, opposition or other pleading in the Action or in



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any other federal or state or foreign action alleging a violation of any law relating to the

subject matter of this Action, any deposition testimony or any documents provided by the
Toshiba Releasees, their counsel, or any individual made available by the Toshiba
Releasees pursuant to the cooperation provisions of Parugraph24.

                26.     Except as provided in Paragraph 24 of this Agreement, Toshiba
and their officers, directors, and employees need not respond to discovery requests or

demands from Plaintiffs or otherwise participate in the Action during the pendency of the

Agreement. Neither Toshiba nor Plaintiffs shall file motions against the other during the
pendency of the Agreement. In the event that the Agreement is not approved by the

Court, or otherwise terminated, Toshiba and Plaintiffs will each be bound by and have the
benefit of any rulings made in the Action to the extent they would have been applicable
to Toshiba or Plaintiffs had Toshiba been participating in the Action.
                27.     Toshiba and Plaintiffs agree not to disclose publicly or to any other
defendant the terms of this Agreement until this Agreement is submitted to the Court for
approval.
        G.      Rescission if this Agreement is Not Approved or Final Judgment is Not
Entered.
                28.     If the Court refuses to approve this Agreement or any part hereof
including if the Court does not certify a settlement class in accordance with the specific
class definition set forth in Plaintiffs' Consolidated Amended Complaint, or if such

approval is modified or set aside on appeal, or if the Court does not enter the final
judgment provided for in Paragraph t0 of this Agreement, or if the Court enters the f,rnal
judgment and appellate review is sought, and on such review, such final judgment is not

affrrmed in its entirety, then Toshiba and the Plaintiffs shall each, in their sole discretion,
have the option to rescind this Agreement in its entirety. Written notice of the exercise of

any such right to rescind shall be made according to the terms of paragraph 39. A

modification or reversal on appeal of any amount of Class Counsel's fees and expenses
awarded by the Court from the Settlement Fund shall not be deemed a modif,rcation of all

or a part of the terms of this Agreement or such final judgment.




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               29.     In the event that this Agreement does not become f,rnal, then this
Agreement shall be of no force or effect and any and all parts of the Settlement Fund

caused to be deposited in the Escrow Account (including interest eamed thereon) shall be

retumed forthwith to Toshiba less only disbursements made in accordance with
Paragraph I 9 of this Agreement. Toshiba expressly reserves all of its rights and defenses
if this Agreement does not become final.
               30. Further, and in any event, Plaintiffs and Toshiba agree that this
Agreement, whether or not it shall become final, and any and all negotiations, documents,
and discussions associated with it, shall not be deemed or construed to be an admission or

evidence of any violation of any statute or law or of any liability or wrongdoing
whatsoever by Toshiba (or the Toshiba Releasees), or of the truth of any of the claims or
allegations contained in the complaint or any other pleading filed in the Action, or by any
person or entity in any other action, and evidence thereofshall not be discoverable or

used directly or indirectly, in any way, whether in the Action or in any other action or

proceeding.

               31.     This Agreement shall be construed and interpreted to effectuate the
intent of the parties, which is to provide, through this Agreement, for a complete
resolution of the relevant claims with respect to each Toshiba Releasee as provided in this
Agreement.
               32. The parties to this Agreement contemplate and agree that, prior to
final approval of the settlement as provided for in Paragraphs 8-l l hereof, appropriate
notice 1) of the settlement; and2) of a hearing at which the Court will consider the
approval of this Settlement Agreement will be given to Class members.
       H.      Miscellaneous.
               33. This Agreement does not settle or compromise any claim by
Plaintiffs or any Class Member asserted in the Consolidated Arnended Complaint or, if
amended, any subsequent complaint, against any defendant or alleged co-conspirator

other than the Toshiba Releasees. All rights against such other defendants or alleged co-
conspirators are specifically reserved by Plaintiffs and the Class. Toshiba's sales to the

Class shall not be removed from the Action.
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                34. The United States District Court for the Northem District of
California shall retain jurisdiction over the implementation, enforcement, and
performance of this Agreement, and shall have exclusive jurisdiction over any suit,

action, proceeding, or dispute arising out of or relating to this Agreement or the

applicability of this Agreement that carurot be resolved by negotiation and agreement by
Plaintiffs and Toshiba. This Agreement shall be governed by and interpreted according
to the substantive laws of the state of California without regard to its choice of law or
conflict of laws principles.
               35.     This Agreement constitutes the entire, complete and integrated
agreement among Plaintiffs and Toshiba pertaining to the settlement of the Action against

Toshiba, and supersedes all prior and contemporaneous undertakings of Plaintiffs and
Toshiba in connection herewith. This Agreement may not be modified or amended
except in writing executed by Plaintiffs and Toshiba, and approved by the Court.

               36. This Agreement shall be binding upon, and inure to the benefit of
the successors and assigns of Plaintiffs and Toshiba. 'ù/ithout limiting the generality of

the foregoing, each and every covenant and agreement made herein by Plaintiffs, Lead

Counsel or Class Counsel shall be binding upon all Class Members and Releasors. The
Toshiba Releasees (other than Toshiba which is a party herero) are third-party
beneficiaries of this Agreement and are authorized to enforce its terms applicable to
them.

               37.     This Agreement may be executed in counterparts by Ptaintiffs and
Toshiba, and a facsimile signature shall be deemed an original signature for purposes of

executing this Agreement.

               38. Neither Plaintiffs nor Toshiba shall be considered to be the drafter
of this Agreement or any of its provisions for the purpose of any statute, case law, or rule
of interpretation or construction that would or might cause any provision to be construed
against the drafter of this Agreement.

               39.     Where this Agreement requires either party to provide notice or
any other communication or document to the other, such notice shall be in writing, and

such notice, communication, or document shall be provided by facsimile or letter by
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ovemight delivery to the undersigned counsel of record for the party to whom notice is
being provided.

               40. Each of the undersigned attorneys represents that he or she is fully
authorized to enter into the terms and conditions of and to execute, this Agreement,

subject to Court approval.


Dated: February   6 ,ZOtl

                                             guido@saveri.com
                                             R. Alexander Saveri
                                             rick@saveri.com
                                             SAVERI & SAVERI,INC.
                                             706 Sansome Street
                                             San Francisco, CA 94111
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                                             Lead Counsel and Attornevs for the Class




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                                             \ryHITE & CASE LLP
                                             701 Thirteenth Street, NW
                                             Washington, DC 20005 -3807

                                            Attorneys for Tos hiba Corporøtion,
                                            Tos hiba America E lectronic Components,
                                            Inc., Toshihø America Consumer Products,
                                            L. L. C., ønd Tos hiba Ameríca Informøtion
                                            Systems,Inc.
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             EXHIBIT 2
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        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA


        lf You Bought A Cathode Ray Tube Product,
                    A Class Action Settlement May Affect You.

Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and fìnished products that
       contain a Cathode Ray Tube such as Televisions and Computer Monitors.

     A Federal Court authorized this Notice. This is not a solicilationfrom a lawyer.

. A class action lawsuit that includes direct purchasers of CRT Products is currently
    pending.
.   Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an
    unlawful conspiracy to fix, raise, maintain or stabilize the prices of Cathode Ray Tubes.
    Plaintiffs further claim that direct purchasers of televisions and monitors that contain a
    cathode ray tube from the Defendants may recover for the effect that the cathode ray tube
    conspiracy had on the prices of televisions and monitors. Plaintiffs allege that, as a result
    of the unlawful conspiracy involving cathode ray tubes, they and other direct purchasers
    paid more for CRT Products than they would have paid absent the conspiracy.
    Defendants deny Plaintiffs' claims.
o A Settlement has been reached with Toshiba Corporation, Toshiba America Information
    Systems, Inc., Toshiba America Consumer Products, L.L.C., and Toshiba America
    Electronic Components, Inc. The companies are together referred to as the "Settling
    Defendants."
.   Your legal rights will be affected whether you act or don't act. This Notice includes
    information on the Settlement and the continuins lawsuit. Please read the entire Notice
    carefully.
            These Rights and Options - and deadlines to exercise them -
                                are explained in this notice.
    You can object or comment on the Settlement                          see Question l0

    You may exclude yourself from the Settlement                         see Question 10

    You may go to a hearing and comment on the Settlement                see Question l4



    The Court in charge of this case still has to decide whether to approve the Settlement.
    The case against the Non-Settling Defendants (identified below) continues.




                    For More Information: Call 1-877-224-3063 or Visit
                    www.G RïDi rectPu rc haserAntitrustSettlement.com
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         3. What is this lawsuit about?
         4. Why is there a Settlement but the litigation is continuing?
         5. What is a Cathode Ray Tube Product?
      6. V/hat is a class action?
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         8. What does the Settlement provide?
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                         For More lnformation:. Call 1-877-224-3063 or Visit
                         www.CRTDi rectPu rchaserA ntitrustSettlement.com
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                                     BASIC INFORMATION

1.      Why did I get this notice?

You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain
products containing those tubes befween March 1, 1995 and November 25,2007. A direct
purchaser is a person or business who bought a CRT, or a television or computer monitor
containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or
subsidiaries themselves, as opposed to an intermediary (such as a retail store).

You have the right to know about the litigation and about your legal rights and options before the
Court decides whether to approve the Settlement.

The notice explains the litigation, the settlement, and your legal rights.

The Court in charge of the case is the United States District Court for the Nofthern District of
Califomia, and the case is called In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No.
1917. The people who sued are called Plaintiffs and the companies they sued are called
Defendants.

2.     Who are the Defendant companies?

The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG
Electronics Taiwan Taipei Co., Ltd., Koninklijke Philips Electronics N.V., Philips Electronics
North America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia
Industria Electronica Ltda., LP Displays International, Ltd. flVaLG.Philips Displays, Samsung
Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI
America, Inc., Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen
Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America Consumer Products, L.L.C., Toshiba America
Information Systems, Inc., Toshiba America Electronic Components, Inc., Panasonic
Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic Corporation of Nofth America,
MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi,
Ltd., Hitachi Displays, Ltd., Hitachi Electronic Devices (USA), Inc., Hitachi America, Ltd.,
Hitachi Asia, Ltd., Tatung Company of America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO Display Devices Co.,
Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics
Corporation flWa Daewoo Electronics Company, Ltd., Daewoo International Corporation, Irico
Group Corporation, lrico Group Electronics Co., Ltd., and Irico Display Devices Co., Ltd.




                        For More lnformation: Call1-877-224-3063 or Visit
                        www.CRTDirectPu rchaserAntitrustSettlement-com
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3.     What is this lawsuit about?
The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of
CRTs and the CRTs contained in certain finished products for over ten years, resulting in
overcharges to direct purchasers of those CRTs and certain finished products containing CRTs.
The complaint describes how the Defendants and co-conspirators allegedly violated the U.S.
antitrust laws by establishing a global cartel that set artificially high prices for, and restricted the
supply of CRTs and the televisions and monitors that contained them. Defendants deny
Plaintiffs' allegations. The Court has not decided who is right.
4.     Why is there a Settlement but the litigation is continuing?
Only some of the Defendants have agreed to settle the lawsuit. This notice concerns a settlement
with Toshiba Corporation, Toshiba America Information Systems, Inc., Toshiba America
Consumer Products, L.L.C., and Toshiba America Electronic Components, Inc. Plaintiffs have
also reached four previous settlements with l) Chunghwa Picture Tubes Ltd., and Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd., 2) Koninklijke Philips Electronics N.V., Philips Electronics
North America Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips da
 Amazonia Industria Electronica Ltda., 3) Panasonic Corporation (f/k/a Matsushita Electric
Industrial, Ltd.), Panasonic Corporation of Nofth America, and MT Picture Display Co., Ltd.
(this settlement also releases Beijing-Matsushita Color CRT Company, Ltd.), and 4) LG
Electronics, lnc., LG Electronics U.S.A., Inc., and LG Electronics Taiwan Taipei Co., Ltd. (this
settlement also releases LP Displays lnternational, Lfd. flWa LG.Philips Displays.) The first
three settlements have been finally approved by the Court. The fourth with LG is currently
awaiting final approval from the Couft. The case is continuing against the remaining Non-
Settling Defendants. Additional money may become available in the future as a result of a trial
or future settlements, but there is no guarantee that this will happen.

5.     What is a Cathode Ray Tube Product?
For the purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of
any type (e.g. color display tubes, color picture tubes and monochrome display tubes) and
finished products which contain Cathode Ray Tubes, such as Televisions and Computer
Monitors.

6.     What is a class action?
In a class action, one or more people, called class representatives, sue on behalf of people who
have similar claims. All these people are members of the class, except for those who exclude
themselves from the class.

If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be
notified about those settlements, if any, at that time. Important information about the case will be
posted on the website, www.CRTDIrectPurchaserAntitrustSettlement.com as it becomes
available. Please check the website to be kept informed about any future developments.
                         For More lnformation: Call1-877-224-3063 or Visit
                        www.C RTDi rectPu rchaserA ntitrustSettlement.com
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                                     THE SETTLEMENT CLASS

7.     How do I know if I'm part of the Settlement Class?

The Settlement Class includes:


AII persons and entities who, between March l, 1995 and November 25,2007, directly
purchased a CRT Product in the United States from any defendant or subsidiary or affiliate
thereof, or any co-conspirator. ("Settlement Class").

8.     What does the Settlement provide?

This Settlement provides for a payment in the amount of S13,500,000 in cash to the Settlement
Class. The Settling Defendants also agreed to cooperate with the Plaintiffs in providing cerlain
information about the allegations in the complaint. ln addition, the Settling Defendants' sales
remain in the case for the purpose of computing damages against the remaining non-settling
Defendants.

                   More details are in the Settlement Agreement, available at
                  www. C RTD i rectP u rc hase rAnti trustSettl em e nt. com .

9.     When can I get a payment?

No money will be distributed to any Class Member yet. The lawyers will pursue the lawsuit
against the Non-Settling Defendants to see if any future settlements or judgments can be
obtained in the case and then be distributed together, to reduce expenses.

Any future distribution of the Settlement Funds will be done on a pro ratabasis. You will be
notifìed in the future when and where to send a claim form. DO NOT SEND ANY CLAIMS
NOW.

In the future, each class member's pro rata share of the Settlement Fund will be determined by
computing each valid claimant's total CRT Product purchases divided by the total valid CRT
Product purchases claimed. This percentage is multiplied to the Net Settlement Fund (total
settlements minus all costs, attorneys' fees, and expenses) to determine each claimant's pro rata
share of the Settlement Fund. To determine your CRT Product purchases, CRT tubes (CPTs and
CDTs) are calculated at full value while CRT televisions are valued aT 50o/o and CRT computer
monitors are valued at75%o.

In summary, all valid claimants will share in the settlement funds on a pro rata basis determined
by the CRT value of the product you purchased - tubes 100o/o, monitors 75Yo and televisions
50%.



                        For More lnformation : Call 1-877 -224-3063 or Visit
                        www.CRTDi rectPu rchaserA ntitrustSettlement.com
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10.      What are my rights with regard to the Settlement Class?

Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you
do not need to take any action at this time.


Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling
Defendants about the claims in this case, you must exclude yourself from the Settlement Class.
You will not get any money from the settlement if you exclude yourself from the Settlement
Class.


To exclude yourself from the Settlement Class, you must send a letter that includes the
following:
     . Your name, address and telephone number,
     o A statement saying that you want to be excluded from In re Cathode Ray Tube GRf)
       Antitrust Litigation, MDL No. 1917, Toshiba Settlement; and
     . Your signature.

Youmustmailyourexclusionrequest,postmarkednolaterthan-,2013,to:

                                       CRT Direct Settlement
                                         P.O. Box 808003
                                        Petaluma" CA 94975


Remain in the Settlement Class and Obiect: If you have comments about, or disagree with,
any aspect of the Settlement, you may express your views to the Court by writing to the address
below. The written response needs to include your name, address, telephone number, the case
name and number (In re Cathode Ray Tube GRD Antitrust Litigation, MDL No. 1917), a brief
explanation of your reasons for objection, and your signature. The response must be postmarked
no later than           .2013 and mailed to:

           COURT                       INTERIM LEAD               COUNSEL FOR
                                           COUNSEL                   SETTLING
                                                                   DEFENDANTS
 Honorable Charles A             Guido Saveri                    Christopher M. Curran
 Legge (Ret.)                    R. Alexander Saveri             WHITE & CASE LLP
 JAMS
 Two Embarcadero, Suite          SAVERI & SAVERI, INC.           701- 13th Street, N.W.
 1_500                           706 Sansome Street              Washington, DC 20005
 San Francisco, CA 94LLL         San Francisco, CA 94tLI




                        For More Information: Call 1-877-224-3063 or Visit
                        www.CRTDi rectP u rchaserA ntitrustSettlement.com
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11. What am I giving up to stay in the Settlement Class?
Unless you exclude yourself from the Settlement Class, you can't sue the Settling Defendants (or
any of the related entities that are released in the Settlement Agreement), or be part of any other
lawsuit against these Settling Defendants about the legal issues in this case. It also means that all
of the decisions by the Court will bind you. The "Release of Claims" includes any causes of
actions asserted or that could have been assefted in the lawsuit, as described more fullv in the
Settlement Agreement.            The Settlement Asreement                   is available at
www.G RTDi rectP u rchaserAntitrustSettlement.com.

                        THE SBTTLEMENT APPROVAL HEARING

12. When and where will the Court decide whether to approve the Settlement?
The Court will hold a Fairness Hearins at                 on             2013. at JAMS. Two
Embarcadero, Suite 1500, San Francisco, CA 9411 I . The hearing may be moved to a different
date or time without additional notice, so it is a good idea to check the class website for
information. At this hearing, the Couft will consider whether the Settlement is fair, reasonable
and adequate. If there are objections or comments, the Court will consider them at that time.
After the hearing, the Couft will decide whether to approve the Settlement. We do not know how
long these decisions will take.


13.    Do I have to come to the hearing?

No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome
to come at your own expense. If you send an objection or comment, you don't have to come to
Court to talk about it. As long as you mailed your written objection on time, the Coun will
consider it. You may also pay another lawyer to attend, but it's not required.



14.     May I speak at the hearing?

If you want your own lawyer instead of Interim Lead Counsel to speak at the Final Approval
Hearing, you must give the Court a paper that is called a "Notice of Appearance." The Notice of
Appearance should include the name and number of the lawsuit (In re Cathode Ray Tube (CRT)
Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance at the
Fairness Hearing. It also must include your name, address, telephone number, and signature.
Your..NoticeofAppearance,,mustbepostmarkednolaterthan-,,20|3'Youcannot
speak at Hearing if you previously asked to be excluded from the Settlement.


The Notice of Appearance must be sent to the addresses listed in Question 10.


                        For More f nformation: Call 1-877-224-3063 or Visit
                        www.C RTDi rectPu rchaserAntitrustSettlement.com
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                            THE LAWYERS REPRESENTING YOU

15.      Do I have a lawyer in the case?

Yes. The Couft has appointed the law firm of Saveri & Saveri, Inc. to represent you as "lnterim
Lead Counsel." You do not have to pay Interim Lead Counsel. If you want to be represented by
your own lawyers, and have that lawyer appear in court for you in this case, you may hire one at
your own expense.

16. How will the lawyers be paid?
Class Counsel are not asking for attorneys' fees at this time. At a future time, Interim Lead
Counsel will ask the Court for attorneys' fees not to exceed one-third (33.3%) of this or any
future Settlement Fund plus reimbursement of their costs and expenses, in accordance with the
provisions of the Settlement Agreement. Interim Lead Counsel may also request that an amount
be paid to each of the Class Representatives who helped the lawyers on behalf of the whole
Class.



                             GETTING MORE INFORMATION

17.      How do I get more information?

This Notice summarizes the lawsuit and the Settlement. You can get more information about the
lawsuit and Settlement at www.GRTDirectPurchaserAntitrustSettlement.com., by
calling l-877-224-3063, or writing to CRT Direct Settlement, P.O. Box 808003, Petaluma, CA
94975. Please do not contact JAMS or the Cour-t about this case.

Dated:              ,2013                                   BY ORDER OF THE COURT




                        For More lnformation: Gall 1-877-224-3063 or Visit
                        www.CRTDi rectPu rc haserA ntitrustSettlement.com
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             EXHIBIT 3
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                                                  LEGAL NOTICE
        If You Bought A Cathode Ray Tube (*CRT") or CRT Product, A Class Action
                                             Settlement May Affect You.


     CRT Products include Televisions or Comnuter Monitors that contain Cathode Rav Tubes
A settlement has been reached with a group of                 allegations in the Complaint. Money will not be
defendants in a class action lawsuit involving CRTs           distributed to Class members at this time. The
and CRT Products. This is the fifth settlement to             lawyers will pursue the lawsuit against the other
date. CRT stands for "Cathode Ray Tube." "Cathode             Defendants to see if any future settlements or
Ray Tube (CRT) Products" include Cathode Ray                 judgments can be obtained in the case and then be
Tubes and finished products that contain a Cathode            distributed together, to reduce expenses.
Ray Tube such as Televisions and Computer
                                                                              What are my rights?
Monitors.
                                                             If you wish to remain a member of the Settlement
               What is lhis lawsuit about?
                                                             Class you do not need to take any action at this time.
The lawsuit alleges that Defendants and Co-                  If you do not want to be legally bound by the
Conspirators engaged in an unlawful conspiracy to            Settlement, you must exclude yourself in writing by
fix, raise, maintain or stabilize the prices of CRTs.        _)           2013, or you will not be able to sue, or
Plaintiffs further claim that direct purchasers of           continue to sue, the Settling Defendants about the
televisions and monitors that contain a cathode ray          Iegal claims in this case.
tube from the Defendants may recover for the effect
that the cathode ray tube conspiracy had on the prices
                                                             If you wish to comment on or disagree with any
                                                             aspect of the proposed settlement, you must do so in
of televisions and monitors. Plaintiffs allege that, as
result ofthe unlawful conspiracy, they and other
                                                             writing no later than _,      2013. The Settlement
                                                             Agreement, along with details on how to object to
direct purchasers paid more for CRT Products than
                                                             them, is available at
they would have absent the conspiracy. Defendants
                                                             www.CRTDirectPurchaserAntitrustSettlement.com.
deny Plaintiffs' claims.
                                                             The U.S. District Court for the Northern District of
            Who's included in the settÌemenÍ?                California will hold a Fairness Hearing at _      on
                                                                          2013, at JAMS, Two Embarcadero, Suite
The Settlement includes all persons and entities who,
                                                              1500, San Francisco, CA 9411 l. The hearing may be
befween March l, 1995 and November 25,2007,
                                                             moved to a different date or time without additional
directly purchased a CRT Product in the United
                                                             notice, so it is a good idea to check the class website
States from any defendant or subsidiary or affiliate
                                                             for information.
thereof ("Settlement Class").
                                                             The Court has appointed the law firm ofSaveri &
            Ilho are rhe Settling Defendants?
                                                             Saveri, Inc. to represent Direct Purchaser Class
A Settlement has been reached with Defendants                members as Interim Lead Class Counsel. At the
Tosh i ba Corporation, Toshiba America Information           Fairness Hearing, the Court will consider whether the
Systems, Inc., Toshiba America Consumer Products,            Settlement is fair, reasonable and adequate. Ifthere
L.L.C., and Toshiba America Electronic                       are objections or comments, the Court will consider
Components, Inc. (collectively "Toshiba" or "Settling        them at that time. You may appear at the hearing, but
Defendants"). A complete Iist of Defendants is set           don't have to. We do not know how long these
out in the Long Form of Notice available at                  decisions will take. Please do not contact JAMS or
www.CRTDirectPurchaserAntitrustSettlement.com.               the Court about this case.

            What does the Settlement provide?
                                                             This is a Summary Notice. For more details, call toll
The Settlement provides for the payment of                   free 1 -87 7 -224-3063. visit
S13,500,000 in cash to the Settlement Class. The             www.CRTDirectPurchaserAntitrustSettlement.com.,
Settling Defendants agreed to cooperate with the             or write to CRT Direct Settlement, P.O. Box 808003,
Plaintiffs in providing certain information about the        Petaluma, CA94975.
